       Case: 25-1555   Document: 48   Page: 1   Date Filed: 04/28/2025




           Nos. 25-1555 through 25-1578; 25-1580 through 25-1593;
                    25-1676; and 25-1677 (Consolidated)

           IN THE UNITED STATES COURT OF APPEALS
                     FOR THE THIRD CIRCUIT
                        ––––––––––––––––––––
   ATLAS DATA PRIVACY CORP., AS ASSIGNEE OF INDIVIDUALS WHO ARE
COVERED PERSONS; JANE DOE 1, A LAW ENFORCEMENT OFFICER; JANE DOE 2, A
  LAW ENFORCEMENT OFFICER; EDWIN MALDONADO; SCOTT MALONEY;
             JUSTYNA MALONEY; PATRICK COLLIGAN;
            PETER ANDREYEV; AND WILLIAM SULLIVAN,
                                               PLAINTIFFS-APPELLEES,
                                  v.
                     WE INFORM LLC, ET AL.

                                                 DEFENDANTS-APPELLANTS.

    On Appeal from the Order and Memorandum of the United States District
        Court for the District of New Jersey dated November 26, 2024

                  BRIEF OF AMICI CURIAE
          CONSUMER DATA INDUSTRY ASSOCIATION,
   SOFTWARE & INFORMATION INDUSTRY ASSOCIATION, AND
     COALITION FOR SENSIBLE PUBLIC RECORDS ACCESS
      IN SUPPORT OF DEFENDANT-APPELLANTS’ APPEAL


JENNIFER L. SARVADI
ROBERT D. TILLEY (admission application pending)
HUDSON COOK, LLP
1909 K Street, NW, 4th Floor
Washington, DC 20006
(202) 715-2002
jsarvadi@hudco.com
Attorneys for Amici Curiae
Consumer Data Industry Association
Software & Information Industry Association
Coalition for Sensible Public Records Access
           Case: 25-1555           Document: 48            Page: 2         Date Filed: 04/28/2025




                                       TABLE OF CONTENTS

TABLE OF CONTENTS ..................................................................................... i
TABLE OF AUTHORITIES .............................................................................. ii
STATEMENT OF INTEREST OF AMICUS CURIAE ....................................... 1
ARGUMENT ..................................................................................................... 3
     I.       The U.S. Economy Depends on Accurate and Reliable Data. ............. 5
     II.      Daniel’s Law is Unconstitutional Because it is Not Appropriately
              Tailored. ............................................................................................. 8
              A. The District Court Erroneously Created and Applied a New
                 Standard of Review that Did Not Evaluate Whether Daniel’s
                 Law is Overinclusive. .................................................................. 8
              B. The New Jersey Legislature Intended Daniel’s Law to
                 Protect the Safety and Security of Public Officials in the
                 Justice System. ........................................................................... 10
              C. Daniel’s Law Fails Because it is Overinclusive. ......................... 13

              D. Daniel’s Law Fails Because it is Underinclusive. ....................... 19
CONCLUSION ................................................................................................ 22
CERTIFICATE OF COMPLIANCE ................................................................. 23
CERTIFICATE OF SERVICE .......................................................................... 24




                                                          i
            Case: 25-1555           Document: 48            Page: 3        Date Filed: 04/28/2025




                                     TABLE OF AUTHORITIES

Cases
Central Hudson Gas & Electricity Corp. v. Public Service Commission of
      New York, 447 U.S. 557 (1980) .....................................................................10
Florida Star v. B.J.F., 491 U.S. 524 (1989) ...................................................... 20, 21
Howard v. Criminal Info. Svc., 654 F.3d 887 (9th Cir. 2011). ...................................7
NASA v. Nelson, 562 U.S. 134 (2011) ........................................................................7
Nat’l Aeronautics & Space Admin v. Nelson, 562 U.S. 134 (2011) ...........................7
Sorrell v. IMS Health Inc., 564 U.S. 552 (2011)........................................................9
U.S. West, Inc. v. FCC, 182 F.3d 1224 (10th Cir. 1999) .......................................... 11

Statutes
15 U.S.C. § 1681t(b) ................................................................................................17
15 U.S.C. § 1684 et seq............................................................................................14
15 U.S.C. § 6801 et seq............................................................................................14
N.J. Stat. Ann. § 56:8-166.1 .....................................................................................18
N.J. Stat. Ann. § 56:8-166.10 ...................................................................................12
N.J. Stat. Ann. § 56:8-166.12 ...................................................................................12
N.J. Stat. Ann. § 56:8-166.13 ...................................................................................18
N.J. Stat. Ann. § 56:8-166.15 ...................................................................................19
N.J. Stat. Ann. § 56:8-166.3 ..................................................................................... 11
N.J. Stat. Ann. § 56:8-166.4 .....................................................................................12

Other Authorities
Comments of Gail H. Littlejohn, Vice President, Gov't Affairs, & Steven M.
    Emmert, Dir., Gov't Affairs, Reed Elsevier Inc., LEXIS-NEXIS Group
    (Mar. 31, 2000), available at http://
    www.sec.gov/rules/proposed/s70600/littlej1.htm ...........................................7




                                                          ii
            Case: 25-1555            Document: 48            Page: 4         Date Filed: 04/28/2025




Departments of Commerce, Justice, and State, the Judiciary, and Related
     Agencies Appropriations for Fiscal Year 2000: Hearings on H.R.
     2670/S.1217 Before Subcomm. for the Dep'ts of Commerce, Justice,
     and State, the Judiciary, and Related Agencies of the S. Comm. on
     Appropriations, 106th Cong. 280 (1999) ........................................................6
Robert M. Jarvis, John B. West: Founder of the West Publishing Company,
     50 Am. J. Legal Hist. 1 *5 (2010) ...................................................................5

Rules
12 C.F.R. § 1022.123 ...............................................................................................16
16 C.F.R. § 313.15 ...................................................................................................15
16 C.F.R. § 681 ........................................................................................................16
Federal Rule of Appellate Procedure 29 ....................................................................1




                                                           iii
         Case: 25-1555     Document: 48     Page: 5    Date Filed: 04/28/2025




      The Consumer Data Industry Association, the Software & Information

Industry Association, and the Coalition for Sensible Public Record Access

respectfully submit this brief in support of the appeal by consolidated Defendants-

Appellants, We Inform, LLC, et al., of the decision of the district court denying the

Defendants’ consolidated motion to dismiss.

             STATEMENT OF INTEREST OF AMICUS CURIAE

      The Consumer Data Industry Association (“CDIA”), the Software &

Information Industry Association (“SIIA”), and the Coalition for Sensible Public

Record Access (“CSPRA”, together with SIIA and CDIA, “Amici”) jointly submit

this amicus brief on behalf of their members, all of whom are actively engaged in

the consumer data industry.1 CDIA is a trade association representing consumer

reporting agencies (“CRAs”), including the nationwide credit bureaus, regional and

specialized credit bureaus, and background check and residential screening

companies around the world. Founded in 1906, CDIA promotes the responsible use

of consumer data to help consumers achieve their financial goals and to help

businesses, governments, and volunteer organizations avoid fraud and manage

risk. Through data and analytics, CDIA members empower economic opportunity,


1
  Pursuant to Federal Rule of Appellate Procedure 29(a)(4)(E), Amici represent that
no party or party’s counsel has authored this brief, in whole or in part, or contributed
money intended to fund the preparation or submission of this brief. Further, no
person other than Amici and their non-party members contributed money that was
intended to fund the preparation or submission of this brief.

                                           1
         Case: 25-1555    Document: 48     Page: 6    Date Filed: 04/28/2025




thereby helping to ensure fair and safe transactions for consumers and facilitating

consumers’ access to financial and other products suited to their unique needs.

      SIIA is a leading trade association for software companies and those in the

business of information. SIIA represents more than 350 member companies, among

them publishers of software and information products, including databases,

enterprise and consumer software, and other products that combine information with

digital technology. SIIA member companies serve nearly every segment of society,

including business, education, government, healthcare, and consumers. SIIA is

dedicated to creating a healthy environment for the creation, dissemination, and

productive use of information. Many of its members rely on access to public records.

      CSPRA is a non‐profit organization dedicated to promoting the principle of

open public record access to ensure individuals, the press, advocates, and businesses

have the continued freedom to collect and use the information made available in the

public record for personal, governmental, commercial, law enforcement, and

societal benefit. Members of CSPRA are among the many entities that comprise a

vital link in the flow of information for these purposes and provide services that are

widely used by constituents in every state. Collectively, CSPRA members employ

more than 75,000 persons across the U.S. The economic and societal activity that

relies on entities such as CSPRA members is valued in the trillions of dollars and

employs millions of people.


                                          2
         Case: 25-1555    Document: 48     Page: 7    Date Filed: 04/28/2025




      Collectively, Amici’s members are information solutions providers, credit

bureaus, and data analytics firms who collect and add value to lawfully acquired,

accurate information that is widely available in private hands. The freedom to collect

and use this data is a fundamental free speech activity, and the core of the

constitutionally protected public domain. Amici offer this brief to explain the ways

that these services are impacted by the unconstitutional overbreadth of Daniel’s Law.

Amici are uniquely qualified to assist this Court in understanding these impacts on

the U.S. credit reporting ecosystem, the identity theft protection industry, and the

larger U.S. economy.

                                   ARGUMENT

      The district court held—for the first time—that the government may prohibit

and even criminalize the use and disclosure of accurate, lawfully-acquired

information that is widely available in private hands and available from the

government itself through public records. See November 27, 2024 Memorandum

Opinion (“Memo.”). It did so on the basis that this information may be misused to

commit serious crimes or that it was invasive of personal privacy. Amici do not

dispute that the government has a compelling interest in protecting the safety of

public officers in the judicial system or that the government has the power to do so

through an appropriately tailored statute. As with most First Amendment cases, this

dispute centers on the means the government has selected.



                                          3
        Case: 25-1555     Document: 48     Page: 8    Date Filed: 04/28/2025




      Daniel’s Law is written to prohibit not only the sharing of information to third

parties, who pose a real risk to the physical safety of covered persons, but even the

retention and storage of such information by companies with lawful business needs

for it. Daniel’s Law also criminalizes the disclosure of accurate information—an

extraordinary infringement on free speech.

      The district court’s review of Daniel’s Law failed in three major respects.2

First, as a content-based restriction on speech, Daniel’s Law is subject to strict

scrutiny review. The district court erred in refusing to apply strict scrutiny, as

required by binding Supreme Court precedent. Second, the district court erred by

failing to examine the ways in which Daniel’s Law is overinclusive. Third, the

district court failed to meaningfully consider the ways that Daniel’s Law is

underinclusive. For all of the reasons explained in Appellants’ Brief, and as stated

herein, this Court should correct these errors and hold that Daniel’s Law facially

violates the First Amendment.

      Amici submit this separate amicus brief (1) to explain the deleterious effects

that flow from the overbreadth of Daniel’s Law to Amici’s members, and by

extension to businesses and consumers across the country; (2) to explain that the law

fails to further the New Jersey legislature’s interest, despite its negative


2
  Amici generally agree with, and endorse, the arguments in Appellants’ opening
brief. See Joint Brief of Appellants, ECF No. 27 in Case No. 25-1555 (“Appellants’
Brief”).

                                          4
         Case: 25-1555    Document: 48     Page: 9    Date Filed: 04/28/2025




consequences on Amici’s members, because it is substantially underinclusive; and

(3) to provide additional support for Appellants’ legal arguments.

I.    The U.S. Economy Depends on Accurate and Reliable Data.

      Today, the U.S. economy depends on the fast and accurate transmission of

information made available by all players in the data and information industries, as

described above. Participants in these industries collect information from a myriad

of sources including (1) government agencies who publicly share court and other

agency records (e.g., from departments of motor vehicles, departments of

corrections, real property records),3 (2) individuals who have made their content

available voluntarily (whether online or otherwise), and (3) furnishers of information

to consumer reporting agencies, like lenders, and other third-party sources. Many

of the users are licensed or otherwise regulated closely at both the state and federal

level. The customers of Amici’s members who use this data are both private-sector

companies and government entities, including law enforcement agencies.

      The real value in the data services Amici provide extends far beyond economic

impacts to our core needs as a civilized, functioning society.         Users of this

information—including consumers’ home addresses and phone numbers—need


3
 While data sharing is ubiquitous in the modern economy, it has been commonplace
for most of modern history. For example, courthouse records have been
commercially collected and published for nearly 150 years. See Robert M. Jarvis,
John B. West: Founder of the West Publishing Company, 50 Am. J. Legal Hist. 1 *5
(2010).

                                          5
        Case: 25-1555    Document: 48     Page: 10    Date Filed: 04/28/2025




timely and efficient access to this data for a variety of purposes including, but not

limited to:

      • Law enforcement. Federal and local law enforcement agencies rely
        on home address and phone number information to locate suspects
        of criminal activity, as well as victims and witnesses to crimes.
        Agencies like the Federal Bureau of Investigation rely on private
        and public sources of data because they “[allow] FBI investigative
        personnel to perform searches from computer workstations and
        eliminate[] the need to perform more time-consuming manual
        searches of federal, state, and local records systems, libraries, and
        other information sources.”4

      • Fraud prevention. Identity theft and other forms of fraud are a
        constant threat to consumers and businesses alike. Companies often
        leverage data, including home addresses and phone numbers, to
        verify consumers’ identities to prevent identity theft and fraud. This
        can include an insurance company obtaining data from public
        records, or a vendor reselling the same, in order to verify a
        consumer’s true identity and mitigate its risk. For consumers with
        little or no credit histories, the only viable approach is often to ask
        “out of wallet” questions, which a fraudster would be unlikely to
        know, such as the very information at issue here (e.g., “which of the
        following five addresses is a past home address of yours?”).

      • Child support enforcement. State and local agencies use data like
        home addresses and phone numbers to locate individuals who are
        delinquent in paying their child support obligations. The Association
        for Children for Enforcement of Support reports that public record
        information provided through commercial vendors helped locate
        more than 75 percent of the “deadbeat parents” they sought.5

4
  Departments of Commerce, Justice, and State, the Judiciary, and Related Agencies
Appropriations for Fiscal Year 2000: Hearings on H.R. 2670/S.1217 Before
Subcomm. for the Dep'ts of Commerce, Justice, and State, the Judiciary, and Related
Agencies of the S. Comm. on Appropriations, 106th Cong. 280 (1999).
5
  Comments of Gail H. Littlejohn, Vice President, Gov't Affairs, & Steven M.
Emmert, Dir., Gov't Affairs, Reed Elsevier Inc., LEXIS-NEXIS Group (Mar. 31,
2000), available at http:// www.sec.gov/rules/proposed/s70600/littlej1.htm; see also

                                         6
       Case: 25-1555    Document: 48     Page: 11    Date Filed: 04/28/2025




      • Credit extensions. Consumer credit decisions rely on accurate
        header information—including names, addresses, and even phone
        numbers—to accurately match data to the right individuals.
        Reliable and prompt access to such data is necessary to facilitate an
        active and competitive credit market, and to facilitate creditors’
        securitization of collateral in support of such credit extensions.

      • Insurance. Insurers of all shapes and sizes access such data each
        day to underwrite policies and to pay claims.

      • Product safety. Manufacturers use name and address information
        to provide important safety recall and service information to
        customers.

      • Tax compliance. Governments use name, address and phone
        number information from both private and public sources to detect
        tax avoidance and to pursue offenders.

      • Government benefits. Government agencies use home address and
        phone number information to verify eligibility for, and prevent fraud
        related to, government benefits.

      • News-gathering and publishing. Newspaper companies regularly
        obtain addresses and phone numbers to report on crimes, detect
        possible corruption or conflicts of interest, and publish stories
        involving the operation or safety of motor vehicles.6

      • Employment and tenant screening. Many consumer reporting
        agencies use data impacted by Daniel’s Law to prepare consumer
        reports for employment and tenant screening, helping employers
        and others ensure a “competent, reliable workforce.”7




Financial Information Privacy Act: Hearings on H.R. 4321 Before the H. Comm. on
Banking and Financial Services, 105th Cong. 100 (1998) (statement of Robert
Glass).
6
  See Howard v. Criminal Info. Svc., 654 F.3d 887, 889 (9th Cir. 2011).
7
  Nat’l Aeronautics & Space Admin v. Nelson, 562 U.S. 134, 150 (2011).

                                        7
        Case: 25-1555     Document: 48     Page: 12     Date Filed: 04/28/2025




      Users depend on timely access to this information, and its predictable

transmission forms the backbone of commerce across the country, improving

consumers’ everyday lives. Loss of such valuable information would have serious

consequences, including for the intended beneficiaries of Daniel’s Law.

II.   Daniel’s Law is Unconstitutional Because it is Not Appropriately
      Tailored.

      A.     The District Court Erroneously Created and Applied a New
             Standard of Review that Did Not Evaluate Whether Daniel’s Law
             is Overinclusive.

      Amici agree with Appellants that Daniel’s Law is subject to strict scrutiny and

fails because it is not narrowly tailored to further New Jersey’s articulated interest.

The district court correctly began its analysis by holding that the types of expression

governed by Daniel’s Law—disclosures of home addresses and phone numbers—

are not commercial speech. Memo. at 21-22. The court also correctly held that

Daniel’s Law is a content-based restriction on speech. Memo. at 22-23.

        The district court then erred when it determined that Daniel’s Law need not

be analyzed under the strict scrutiny standard, because—according to the district

court—Daniel’s Law falls into a category of “privacy law[s]” that are exempt from

strict scrutiny. Memo at 25, 28. In doing so, the district court inappropriately created

and applied a new, less rigorous, standard to evaluate whether Daniel’s Law violates

the First Amendment. As a result, the district court evaluated only whether Daniel’s




                                           8
        Case: 25-1555      Document: 48     Page: 13     Date Filed: 04/28/2025




Law is underinclusive in furthering the state’s identified interest, and not whether

Daniel’s Law is overinclusive. See Memo. at 28, 30-33.

      Appellants ably explained that there is no exception to the requirement that

content-based restrictions on speech must be evaluated under strict scrutiny.

Appellants’ Brief at 41-44. Indeed, Amici are not aware of any precedent suggesting

that the appropriate level of judicial scrutiny is determined by the nature of the state’s

interest underlying the legislation rather than by the nature of the limitation imposed

on free speech. See id. at 41-42.

      In addition to the reasoning set out by Appellants, Amici note that the Supreme

Court has foreclosed the argument that laws intended to protect privacy interests are

subject to the district court’s less-exacting form of judicial review. See Sorrell v.

IMS Health Inc., 564 U.S. 552, 557, 569-570 (2011) (assuming for purposes of the

analysis that “safeguard[ing] medical privacy” was a significant state interest). Once

the district court determined that Daniel’s Law is a content-based restriction on

speech, it was bound to evaluate whether the law is sufficiently tailored to the state’s

interests. That is the unavoidable conclusion to be drawn from Sorrell, in which the

Supreme Court applied “heightened scrutiny” to a “content-based” state “privacy

law.” Id. at 565-66. In Sorrell, the Court held that the law was unconstitutional

because it was not sufficiently “drawn to serve the State’s asserted interest” even

under the Court’s less-exacting test for commercial speech. See Sorrell, 564 U.S. at


                                            9
           Case: 25-1555   Document: 48   Page: 14     Date Filed: 04/28/2025




571-72      (citing Central Hudson Gas & Electricity Corp. v. Public Service

Commission of New York, 447 U.S. 557, 566 (1980)).

      The district court erred, therefore, when it evaluated Daniel’s Law under an

even less rigorous standard that ignored the law’s facial overbreadth.

      B.       The New Jersey Legislature Intended Daniel’s Law to Protect the
               Safety and Security of Public Officials in the Justice System.

      The district court took judicial notice of “the tragic circumstances that led to

the passage of Daniel’s Law” and the New Jersey legislature’s articulated interest in

passing the law. Memo. at 12-13. The law is named for the deceased son of Judge

Esther Salas, who was fatally shot at her home in New Jersey. Id. at 12. The district

court found that the New Jersey legislature passed Daniel’s Law “in response to

these crimes.” Id. The district court’s opinion included a lengthy quote from the

New Jersey legislature’s explicit statement of purpose in passing Daniel’s Law:

      This act shall be liberally construed in order to accomplish its purpose
      and the public policy of this State, which is to enhance the safety and
      security of certain public officials in the justice system, including
      judicial officers, law enforcement officers, child protective
      investigators[,] . . . and prosecutors, who serve or have served the
      people of New Jersey, and the immediate family members of these
      individuals, to foster the ability of these public servants who perform
      critical roles in the justice system to carry out their official duties
      without fear of personal reprisal from affected individuals related to the
      performance of their public functions.

Id. at 13 (quoting N.J. Stat. Ann. § 56:8-166.3(a) (emphasis added by the district

court)).



                                          10
        Case: 25-1555     Document: 48     Page: 15    Date Filed: 04/28/2025




      Amici concede that New Jersey has a compelling state interest in protecting

“the safety and security of [] public officials in the justice system” and their

immediate family members, and that the New Jersey legislature intended Daniel’s

Law to further that interest. See N.J. Stat. Ann. §§ 56:8-166.3(a). However, the

district court did not evaluate whether Daniel’s Law is sufficiently tailored to this

purpose.

      Instead, the district court characterized Daniel’s Law as a “privacy law,”

because it provides covered persons with “the right to be let alone insofar as their

home addresses and unpublished phone numbers are concerned.” Memo. at 25. The

district court interpreted covered persons’ interest in being free from “personal

reprisal” as “analogous to the long-standing common law tort for invasion of privacy

for disclosure of the intimate details of a person’s private life. There the law allows

for damages for disclosure of such information in order to compensate for causing

embarrassment and humiliation.” Id. (emphasis added).

      This analysis goes too far—protection from physical threats and personal

embarrassment are not the same interest. See U.S. West, Inc. v. FCC, 182 F.3d 1224,

1234-35 (10th Cir. 1999) (warning that courts must “pay particular attention to

attempts by the government to assert privacy as a substantial state interest,” due to

the “breadth of the concept of privacy”). Nothing in the legislative history or public

record suggests that Daniel’s Law allows covered persons to keep their addresses


                                          11
        Case: 25-1555     Document: 48      Page: 16   Date Filed: 04/28/2025




and phone numbers confidential to avoid “embarrassment or humiliation.”

Certainly, the legislature intended for covered persons to be “let alone” in their

homes, but for the purpose of protecting against threats to their safety and security.

See U.S. West, 182 F.3d at 1234 (“the government cannot satisfy the second prong

of the Central Hudson test by merely asserting a broad interest in privacy . . . [but

rather] must specify the particular notion of privacy and interest served”).

      Further evidencing that Daniel’s Law is not about the general right to privacy,

the New Jersey legislature recently passed a statutory framework to protect

individuals’ data privacy rights with the enactment of Senate Bill 332 (“New Jersey

Privacy Law”).8 Effective January 15, 2025, the New Jersey Privacy Law sets forth

a comprehensive privacy regime for consumers, implementing a tiered approach to

privacy based upon the types of personal data collected and the uses of such data.

New Jersey consumers have the right to know what personal data businesses process

about them, correct inaccuracies, and delete certain data, as well as to opt-out of

certain uses the legislature decided warranted greater protection: targeted

advertising, sales of personal data, and profiling in furtherance of decisions that

produce significant legal effects.9 Certain categories of “sensitive data” receive an

especially high degree of protection.10


8
  N.J. Stat. Ann. §§ 56:8-166.4 - 166.19.
9
  N.J. Stat. Ann. § 56:8-166.10(a).
10
   N.J. Stat. Ann. § 56:8-166.12(a)(4).

                                            12
        Case: 25-1555      Document: 48     Page: 17     Date Filed: 04/28/2025




      In contrast to this comprehensive data privacy framework, Daniel’s Law is

crafted to serve not general privacy interests but rather the protection of covered

persons’ physical safety. Evaluated against that state interest, the law is facially

overbroad and fails strict scrutiny. Similarly, Daniel’s Law would fail even under

intermediate scrutiny, which “requires [the Court] to decide if the restriction [on

speech] is nevertheless more extensive than necessary to serve the government's

substantial interest.”     Greater Philadelphia Chamber of Com. v. City of

Philadelphia, 949 F.3d 116, 140 (3d Cir. 2020) (citing Central Hudson, 447 U.S.

557 (1980)).

      C.       Daniel’s Law Fails Because it is Overinclusive.

      Daniel’s Law provides that “not later than 10 business days following receipt

[of notification from a covered person], a person, business, or association shall not

disclose or re-disclose on the Internet or otherwise make available, the home address

or unpublished home telephone number of any covered person.” N.J. Stat. Ann. §

56:8-166.1(a). The statute defines “disclose” to mean “to solicit, sell, manufacture,

give, provide, lend, trade, mail, deliver, transfer, post, publish, distribute, circulate,

disseminate, present, exhibit, advertise, or offer, and shall include making available

or viewable within a searchable list or database, regardless of whether a search of

such list or database is actually performed.” N.J. Stat. Ann. § 56:8-166.1(d).




                                           13
        Case: 25-1555     Document: 48      Page: 18     Date Filed: 04/28/2025




      Appellants’ brief summarizes numerous ways in which Daniel’s Law is

overinclusive, in that it prohibits many types of disclosure that pose little risk to the

physical safety of covered persons. Appellants’ Brief at 25-31. By contrast, the

district court’s analysis concerning whether Daniel’s Law is overly-broad, or

overinclusive, consisted of the following three sentences:

      Defendants also argue that the definition of “disclose” is too broad. The
      law reads as it does to advance the state’s significant interest in
      protecting the lives and well-being of covered persons. This argument
      is not persuasive.
Memo at. 33-34. The court failed to analyze the scope of the definition of “disclose”

or the resulting consequences. A careful review of the broad text and sweeping

implications of this law makes clear that it is not tailored in any meaningful way.

      In addition to the types of disclosures identified in Appellants’ Brief, Daniel’s

Law is overinclusive because it prohibits (1) business-to-business disclosures, and

(2) purely internal maintenance and storage of the relevant data.

      Business-to-business disclosures.         The plain meaning of Daniel’s Law

squarely prohibits business-to-business transfers of covered persons’ information,

yet it provides no exceptions for data sharing expressly authorized by federal and

state laws, such as the Fair Credit Reporting Act, 15 U.S.C. § 1684 et seq. (“FCRA”),

the Gramm-Leach-Bliley Act, 15 U.S.C. § 6801 et seq. (“GLBA”), and the Drivers

Privacy Protection Act, 18 U.S.C. § 2721 et seq. (“DPPA”). Consistent with, and as

expressly provided for by such laws, Amici’s members make data available to


                                           14
        Case: 25-1555     Document: 48      Page: 19     Date Filed: 04/28/2025




businesses that pose no safety risk to covered persons. In accordance with these

laws, Amici’s members impose contractual limitations, and terms of use, on their

customers to establish the permitted—and prohibited—uses of this information and

to limit the rights of users to further share the information.

      This issue is paramount for Amici and their members. Many of the fraud

prevention and identity verification products discussed in Section I, above, are built

upon the lawful sharing of information between businesses as contemplated and

expressly authorized by these federal laws.            For example, the GLBA and

corresponding federal regulations created a specific mechanism for the disclosure of

nonpublic personal information to “protect the confidentiality or security” of the

company’s records, or “to protect against or prevent actual or potential fraud,

unauthorized transactions, claims, or other liability.” 16 C.F.R. § 313.15(a)(2).

Under these provisions, providers of fraud prevention tools share name, address, and

phone number information with their customers. Similarly, the DPPA provides for

several categories of permissible disclosures, including “to verify the accuracy” of

information submitted by an individual, “for the purposes of preventing fraud,” and

for use by insurers in connection with claims and investigations.           18 U.S.C.

§ 2721(b)(3),(6).

      These fraud prevention tools are not only a good idea; they are often legally

required. By way of example, the FTC’s Identity Theft Rules, created under


                                           15
        Case: 25-1555     Document: 48     Page: 20     Date Filed: 04/28/2025




authority granted by the FCRA, require financial institutions to develop, implement,

and administer an anti-identity theft program to identify and prevent identity theft

and consumer fraud. See 16 C.F.R. § 681.1. Businesses rely on Amici’s members

to provide them with the necessary tools to implement and administer these red flag

policies (and, similarly, anti-money laundering programs)—to the benefit of

consumers and business alike.        Address and phone number information are

particularly useful to identify and prevent potential identity theft, a growing national

threat to consumers. Yet, Daniel’s Law is written to prevent the lawful maintenance

and use of this information for these purposes.

      In addition, a great deal of activity governed by the FCRA could be deemed

an impermissible disclosure under Daniel’s Law. For example, the prohibition on

disclosure of home addresses and phone numbers may prohibit creditors from

furnishing accurate account information to consumer reporting agencies for the

purpose of being included in consumer reports. Consumer reporting agencies use

address and phone number information to verify identities and accurately match

records to a particular consumer. See, e.g., CFPB Advisory Opinion on Name-Only

Matching Procedures, 12 CFR Part 1022 (explaining that “a consumer reporting

agency that uses . . . name only matching . . . is not using reasonable procedures to

assure maximum possible accuracy”); see also 12 C.F.R. § 1022.123(b)(1)

(identifying “current and/or recent full address” as information that may “constitute


                                          16
        Case: 25-1555     Document: 48     Page: 21    Date Filed: 04/28/2025




reasonable information requirements for proof of identity).11 The companies that

furnish this information to the consumer reporting agencies are the first line of

defense in assuring the accuracy of consumer report information.

      If companies are prohibited from furnishing to consumer reporting agencies

full and accurate identifying information in connection with account histories, New

Jersey covered persons will be harmed. If a furnisher must suddenly cease reporting

the identity information, they will no longer be permitted to furnish a payment

history on a credit account.      Consider an individual whose credit score was

considered “high” based on a longstanding positive account payment history

reflecting on their report, such as their mortgage payment history. If that information

were suddenly deleted or unavailable, the consumer’s credit score would likely fall

as a result of the loss of a longstanding positive payment record. This, in turn, could

reduce covered persons’ access to credit on the best terms available to them.

      Internal records maintained by Amici’s members. Daniel’s Law not only

prohibits the sharing of information between entities, it also prohibits reasonable

internal use by the entities that have collected it, making daily operations for many

businesses nearly impossible and rendering the law facially overinclusive. Under

the express terms of the statute, even the original collectors of information may be


11
  Note also that, to the extent Daniel’s Law regulates the contents and disclosure of
the consumer files maintained by consumer reporting agencies, it is likely preempted
by the FCRA. See, e.g., 15 U.S.C. § 1681t(b).

                                          17
        Case: 25-1555     Document: 48     Page: 22    Date Filed: 04/28/2025




prohibited from storing covered persons’ information within wholly-internal

business records that are comprised of “searchable list[s] or database[s].” N.J. Stat.

Ann. § 56:8-166.1(d). Notably, this statutory language speaks to the way that the

information is maintained and stored, rather than limiting its disclosure to third

parties (“regardless of whether a search of such list or database is actually

performed”). Id. This regulation on maintaining information—rather than the

disclosure of information—illustrates the law’s overbreadth because it is not related

to any activity that could promote covered persons’ physical safety.12

      Compare Daniel’s Law’s overly broad definition of “disclose” and its

implications to the reasoned approach taken by the New Jersey Legislature in

enacting the New Jersey Privacy Law. The New Jersey Privacy Law expressly

contemplates and facilitates certain uses of data in recognition of the important role

data plays in the economy, exempting from the law’s ambit, among other things:

(1) financial institutions or data regulated by the GLBA; and (2) personal data

collected, processed, sold, or disclosed by a consumer reporting agency regulated by

the FCRA.13 Unlike Daniel’s Law, the New Jersey Privacy Law engages with



12
   Amici are not aware of any threats to the safety of covered persons that have
resulted from the storage of home address or phone number information in the
companies’ internal databases.
13
  N.J. Stat. Ann. § 56:8-166.13. The legislature also clarified that nothing in the law
should prevent a data processor’s ability to comply with other laws, provide products

                                          18
        Case: 25-1555     Document: 48     Page: 23     Date Filed: 04/28/2025




federal regulations and presents a comprehensive framework that balances privacy

interests against the legitimate and necessary uses of personal data.

      D.     Daniel’s Law Fails Because it is Underinclusive.

      The district court failed to grapple with the ways that Daniel’s Law is woefully

underinclusive. In preface to its analysis, the district court recited the New Jersey

legislature’s declared purpose in enacting Daniel’s Law: “to enhance the safety and

security of judges, prosecutors, and other law enforcement officers so that they are

able to carry out their official duties without fear of personal reprisal.” Memo. at 29.

The court also took judicial notice of “an ever increasing number of threats and even

assassinations,” including the tragic death of Judge Esther Salas’s son. Id. Given

these stakes, and the real harms to commercial activity that will result from the

prohibition on disclosure of covered persons’ home addresses and phone numbers

(discussed above in Sections I and II(B)), it is remarkably important that Daniel’s

Law actually advance the state’s interest “in protecting judges, prosecutors, and

other law enforcement officers from threats and assassinations”—i.e., that it not be

underinclusive. Memo. at 30.

      Against this background, the district court’s analysis of whether Daniel’s Law

is underinclusive—whether it actually furthers its important goals—was insufficient.



or services requested by a consumer, and prevent, detect, or respond to fraud and
identity theft. N.J. Stat. Ann. § 56:8-166.15(a).

                                          19
        Case: 25-1555     Document: 48     Page: 24    Date Filed: 04/28/2025




See Florida Star v. B.J.F., 491 U.S. 524, 540 (1989) (the “facial underinclusiveness”

of the law raised serious doubts about whether it furthered the significant interests

invoked to justify it). The district court acknowledged that “Daniel’s Law has a

number of exemptions allowing for disclosure of home addresses,” including those

that “appear on property records or on voter registration lists.” Memo. at 30. Citing

a case from 1989, the district court reasoned that “this type of information is

generally more difficult to extract from public records than information found on the

Internet.” Id. However, the court provided no support for its assumption that

Appellants, and Amici’s members, make their records more readily available online

to be searched by the general public than are the exempted public records. It is fact,

however, that several New Jersey counties make their property records electronically

searchable online.14

      Appellants highlight several ways in which Daniel’s Law is underinclusive.

The two most important are that (1) covered persons may demand that companies



14
   See, e.g., Bergen County Cleark’s Office Public Search (including name-based
searching), available at https://bclrs.co.bergen.nj.us/browserview/; Middlesex
County Clerk Land Records Search (including name-based searching), available at
https://mcrecords.co.middlesex.nj.us/recordssearch/; Essex County’s Public
Records          Electronic        Search        System,           available         at
https://press.essexregister.com/prodpress/index.aspx; Monmouth County’s Open
Public          Records          Search         System,           available          at
https://oprs.co.monmouth.nj.us/oprs/googlewithuc/default.aspx. While not all of
these websites allow for name-based searching, that is also true for the public-facing
sites offered by many of Amici’s members.

                                          20
        Case: 25-1555     Document: 48     Page: 25    Date Filed: 04/28/2025




remove their information while also voluntarily disclosing the information on the

internet; and (2) covered persons may seek large statutory damages from companies

while not being required to request that the state remove their information (or even

having the right to demand removal from state databases). See Appellants’ Brief at

32-26. These disclosures of the information are exceptions that effectively swallow

the rule and render Daniel’s Law an unconstitutional infringement on free speech. 15

      Amici’s members are injured by the law’s under-inclusiveness because the law

favors certain holders of information, and their preferred uses of such information,

over theirs. The State’s various agencies are allowed to share with the general public

the very same information that Amici’s members must destroy upon request,

regardless of their own need for the information. “When a State attempts the

extraordinary measure of punishing truthful publication in the name of privacy, it

must demonstrate its commitment to advancing this interest by applying its

prohibition evenhandedly, to the smalltime disseminator as well as the media giant.”

Florida Star, 491 U.S. at 540. By striking the law as written, and requiring the New

Jersey legislature to address these shortcomings, the Court can ensure that covered

persons receive effective protection from threats to their physical safety.



15
   CSPRA has previously published an article summarizing the shortcomings of
address suppression strategies and suggesting alternative approaches, available here:
https://static1.squarespace.com/static/645bb7ff3b387d6a11bb729d/t/66e3338ffa06
1600ac33b924/1726165905719/CSPRA+Security+Article+Final4.pdf.

                                          21
        Case: 25-1555     Document: 48   Page: 26    Date Filed: 04/28/2025




                                   CONCLUSION

      For the reasons above, the Court should vacate the order of the district court

and hold that New Jersey’s Daniel’s Law violates the First Amendment because it is

not sufficiently tailored to the state’s interest in protecting the safety of public

officers in the judicial system.




Dated: April 28, 2025                         HUDSON COOK, LLP

                                              /s/ Jennifer L. Sarvadi
                                              Jennifer L. Sarvadi
                                              Robert Tilley (admission pending)
                                              1909 K Street, N.W., 4th Floor
                                              Washington, D.C. 20006
                                              (202) 715-2002
                                              jsarvadi@hudco.com

                                              Counsel for Amici Curiae
                                              Consumer Data Industry
                                              Association, Software & Information
                                              Industry Association, and Coalition
                                              for Sensible Public Records Access




                                         22
      Case: 25-1555     Document: 48    Page: 27     Date Filed: 04/28/2025




                     CERTIFICATE OF COMPLIANCE

1.   This brief complies with the type-volume limitation of Fed. R. App. P.

     32(a)(7)(B) because: this brief contains 5,158 words, excluding the parts of

     the brief exempted by Fed. R. App. P. 32(a)(7)(B)(iii) and Fed. R. App. P.

     32(f).

2.   This brief complies with the typeface requirements of Fed. R. App. P. 32(a)(5)

     and the type style requirements of Fed. R. App. P. 32(a)(6) because: this brief

     has been prepared in a proportionally spaced typeface using Microsoft Word

     in Times New Roman 14-point font.

3.   This brief complies with the Court’s rules and identical to one another and the

     electronic PDF version.

4.   Adobe Acrobat detection program has been run on the file and that no virus

     was detected.




                                                /s/ Jennifer L. Sarvadi

                                             Jennifer L. Sarvadi




                                       23
        Case: 25-1555    Document: 48     Page: 28     Date Filed: 04/28/2025




                         CERTIFICATE OF SERVICE

      I hereby certify that on this 28th day of April 2025, I electronically filed the

foregoing Brief of Amici Curiae Consumer Data Industry Association, Software &

Information Industry Association and Coalition for Sensible Public Record Access

in Support of Appellants’ Appeal with the Clerk of this Court using the CM/ECF

system. I certify that all participants in the case are registered CM/ECF users and

that service will be accomplished using the CM/ECF system.




                                               HUDSON COOK, LLP
                                               By /s/ Jennifer L. Sarvadi
                                                    Jennifer L. Sarvadi

                                               Counsel for Amici Curiae
                                               Consumer Data Industry
                                               Association, Software & Information
                                               Industry Association, and Coalition
                                               for Sensible Public Records Access




                                         24
